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 8                             UNITED STATES DISTRICT COURT

 9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                  No. 8:21-CR-0112-JLS

11               Plaintiff,
                                                [PROPOSED] ORDER GRANTING
12                     v.                       GOVERNMENT’S MOTION TO DISMISS
                                                PURSUANT TO RULE 48(a)
13   BRIAN JAVAADE MESHKIN (1),
     DANIEL RONALD KENDALL (5),
14   ABRAHAM ALAN CHERRICK (6),
     LESTER ALAN ZUCKERMAN (7)                  Judge: Hon. Josephine L. Staton
15   ASSAF TZUR GORDON (8),
     OSSAMA ANTOINE JAWHAR (9),
16
                 Defendants.
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           Pursuant    to   the   Government’s    motion,    the    indictment   against
20
     Defendants    Brian    Javaade   Meshkin    (1),    Daniel    Ronald   Kendall   (5),
21
     Abraham Alan Cherrick (6), Lester Alan Zuckerman (7), Assaf Tzu Gordon
22
     (8), and Ossama Antoine Jawar (9), is hereby dismissed in the interests
23
     of justice pursuant to Federal Rule of Criminal Procedure 48(a).
24
           IT IS SO ORDERED.
25
     Dated: __________________, 2022
26                                                      Hon. Josephine L. Staton
                                                        United States District Judge
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